           Case 1:21-cr-00116-DLF Document 51 Filed 08/12/21 Page 1 of 6




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATE OF AMERICA               )
                                      )
                                      )
V.                                    )     Case No. 1:21-CR-00116-DLF
                                      )
                                      )
VERDEN ANDREW NALLEY                  )

 DEFENDANT VERDEN NALLEY’S MOTION TO DISMISS COUNT ONE

      COMES NOW, the Defendant, VERDEN ANDREW NALLEY (“Mr.

Nalley”), by and through undersigned counsel, pursuant to Fed. R. Crim. P.

12(b)(3)(B)(i), and hereby files this Motion to Dismiss Count One of the Indictment

on grounds of duplicity.

      I.      FACTS

      Count One of the Indictment reads as follows:
          Case 1:21-cr-00116-DLF Document 51 Filed 08/12/21 Page 2 of 6




      This count charges three separate offenses – attempt to obstruct an official

proceeding, conspiracy to obstruct an official proceeding, and the completed

offense of obstructing an official proceeding, in violation of 18 U.S.C. § 1512(c)(2)

and (k). This is duplicitous. Consequently, Count One should be dismissed.

      II.    ARGUMENT

      Duplicity is the improper joinder of distinct and separate offenses in a single

count. See United States v. Starks, 515 F.2d 112, 116 (3rd Cir. 1975). A duplicitous

count may conceal the specific charges against a defendant, allow the jury to

convict without unanimity as to the offense, 1 increase the risk of prejudicial

evidentiary rulings, or endanger fair sentencing. Id. at 116. A motion seeking the

dismissal of a count on grounds of duplicity must be made before trial. Fed. R.

Crim. P. 12(b)(3)(B)(i).

      For a count to be duplicitous, it must charge more than one distinct crime,

each requiring its own set of elements. For example, conspiracy and attempt are

distinct crimes with different elements. 2 Thus, in Starks, 515 F.2d at 116, the Third

Circuit found that charging “conspiracy to extort and attempt to extort” in a single




      This would violate a defendant’s Sixth Amendment guarantee to a
      1

unanimous verdict.

      2 United States v. Savaiano, 843 F.2d 1280, 1292 (10th Cir. 1988) (indicating
that conspiracy and attempt are distinct crimes requiring proof of unique elements
under Blockburger v. United States, 284 U.S. 299, 304 (1932)).
                                          2
         Case 1:21-cr-00116-DLF Document 51 Filed 08/12/21 Page 3 of 6




Hobbs Act count was improper, and defendants’ pretrial motions to dismiss

should have been granted. The Hobbs Act, 18 U.S.C. § 1951(a) punishes anyone

who obstructs commerce by robbery or extortion “or attempts or conspires to do

so.” Id.; See Abney v. United States, 97 S.Ct. 2034 (1977) (noting duplicitous nature

of single count charging Hobbs Act attempt and conspiracy but finding no

prejudice due to detailed jury instruction).

      The same problem arises when a substantive violation is also joined together

with either attempt or conspiracy or, as in this case, both. In United State v. Bonner,

the Middle District of Pennsylvania found that the joinder of an attempt and

substantive Hobbs Act offense in one count was duplicitous. 2014 WL 5795601 *5

(citing Starks) (Nov. 6, 2014) (unpublished). Looking back from the perspective of

a habeas motion under 28 U.S.C. § 2255, in Bonner, the district court found no

prejudice, citing the detailed jury instructions clarifying the jury’s duty reading

the duplicitous count. Id. at *6.

      The better course of action, as Starks indicated, is dismissal. This is especially

so when the duplicitous charge is identified in a pretrial motion. The risk of jury

confusion or lack of unanimity is simply too great.

      The Tenth Circuit had the opportunity to analyze duplicity in the context of

a defendant’s motion challenging a jumbled count alleging a violation under 18

U.S.C. § 1512(a)(1)(A), a different section of the obstruction statute at issue here. In


                                           3
         Case 1:21-cr-00116-DLF Document 51 Filed 08/12/21 Page 4 of 6




United States v. Washington, 653 F.3d 1251 (10th Cir. 2011), Mr. Washington was

charged with witness tampering for his part in a murder-for-hire scheme. He

moved pretrial to dismiss the indictment.

      There, the Indictment unartfully charged that the defendants “did attempt

to kill Lieutenant Bryan Stark by conspiring to shoot him with the intent to prevent

the attendance or testimony of Lieutenant Bryan Stark in federal court proceedings

against [a co-defendant].” Id. at 1255 (emphasis added). The government argued

that the use of the term “conspiring” was not an effort to allege a separate and

distinct offense, but rather, was used in an everyday, non-technical sense “to

describe the manner in which both co-defendants attempted to kill” the witness. Id.

at 1262-63. The Court agreed, noting that the referenced conspiring behavior was

merely part of the factual description of the attempt. Id. The language could not be

reasonably read as incorporating the formal elements of a conspiracy offense, as

that is charged under 18 U.S.C. § 1512(k). Id. at n. 12.

      Here, by contrast, Mr. Nalley is charged under 18 U.S.C. § 1512(c)(2) and §

1512(k), the conspiracy provision. Section 1512(c)(2) prohibits both the substantive

offense of actually obstructing an official proceeding and an attempt to do the

same. The government, in Count One, pulls two offenses from § 1512(c)(2) –

obstruction and attempted obstruction – and combines those with a conspiracy to

obstruct under § 1512(k). There is no question that, here, unlike in Washington, the


                                          4
        Case 1:21-cr-00116-DLF Document 51 Filed 08/12/21 Page 5 of 6




government has charged three separate and distinct offenses in one count. This is

duplicitous and should be dismissed.

      III.   CONCLUSION

      WHEREFORE, for all of the above reasons, Mr. Nalley respectfully requests

that the Court dismiss Count One of the Indictment.

      This 12th day of August, 2021.

                                           Respectfully Submitted,

                                           /s/ Thomas L. Hawker
                                           THOMAS L. HAWKER
                                           GEORGIA BAR NO. 338670
                                           ATTORNEY FOR VERDEN NALLEY

FEDERAL DEFENDER PROGRAM, INC.
Suite 1500, Centennial Tower
101 Marietta Street, N.W.
Atlanta, GA 30303
(404) 688-7530/Fax (404) 688-0768
Thomas_Hawker@fd.org




                                       5
        Case 1:21-cr-00116-DLF Document 51 Filed 08/12/21 Page 6 of 6




                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been formatted in Book Antiqua 13

pt., and was filed by ECF this day with the Clerk of Court with a copy served by

ECF notice upon counsel of record as follows:

                        Adam Alexander, Esq.
                        Assistant United States Attorney

      This 12th day of August 2021.

                                           /s/ Thomas L. Hawker
                                           THOMAS L. HAWKER
                                           GEORGIA BAR NO. 338670
                                           ATTORNEY FOR VERDEN NALLEY




                                       6
